                                                           February 11, 2022

VIA ECF
The Honorable Margo K. Brodie
Chief United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

       Re:    United States v. Ng Chong Hwa a.k.a Roger Ng, 18 Cr. 538 (MKB)

Dear Chief Judge Brodie:

        Because the government provided the defense with the defendant’s statements to law
enforcement after jury selection, and now states that the government had these statements in its
possession for what seems like the entire duration of this case, the defense is regrettably
compelled to ask the Court to order the government to (1) affirmatively review its files and (2)
provide the defense with any other discovery materials immediately. This includes, among other
things, the following:

       1. Any other statements by Mr. Ng to any law enforcement entity;

       2. Any bank records related to any accounts or transactions relevant to this case,
          including those associated with the defendant, members of his family, the cooperator
          and members of his family;

       3. Any other FBI reports that are material to the defense; and

       4. Any other statements of the defendant’s wife to any law enforcement entity.
        The reason we need Court intervention is because the government apparently
misapprehends the scope of its discovery obligation. The government errantly stated that an FBI
agent working on this case was not a member of the prosecution team. That is clearly an
inaccurate statement. Moreover, we specifically alerted the prosecutors in the Spring of 2019 to
the fact that Mr. Ng was questioned by both Singapore and Malaysian authorities. At that time,
we formally asked the government if it was in possession of any records, documents or notes of
any statements of Mr. Ng to any foreign law enforcement agency. The lead prosecutor at the
time said that the government had no such records, documents or notes.

        Therefore, we need the Court to order the government to abide by its discovery
obligations and provide all discovery to us immediately.



                                                           Respectfully submitted,



                                                           Marc A. Agnifilo, Esq.
                                                           Zach Intrater, Esq.
                                                           Teny R. Geragos, Esq.
                                                           Jacob Kaplan, Esq.

cc:    Counsel for the Government (via ECF)




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